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 3                              UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
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 6   SHEHALY SALGADO-RODRIGUEZ,                                Case No. 2:22-cv-00414-NJK
 7          Plaintiff,                                                   ORDER
 8   v.
 9   ARROW ELECTRONICS, INC.,
10          Defendant.
11         This case involves allegations related to Plaintiff’s employment in Reno, Nevada, which is
12 in Washoe County. Docket No. 1 at ¶¶ 5, 16. As such, this matter is properly transferred to the
13 unofficial Northern Division. See Local Rule IA 1-8(a). Accordingly, it is hereby ORDERED
14 that this action is transferred to the unofficial northern division of this District for all further
15 proceedings. The Clerk of Court is instructed to transfer and reopen this matter as a new action
16 under a new docket number in the northern division and to close this case without prejudice.
17         IT IS SO ORDERED.
18         Dated: March 8, 2022.
19                                                  ___________________________________
                                                    NANCY J. KOPPE
20                                                  UNITED STATES MAGISTRATE JUDGE
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